Case 7:21-cv-00115-WLS Document 1-1 Filed 08/25/21 Page 1 of 20




                   Exhibit A
        Case 7:21-cv-00115-WLS Document 1-1 Filed 08/25/21 Page 2 ofLOWNDES
                                                                     20     COUNTY, GEORGIA
                                                                                         Lowndes County - Superior Court
                                                                                                              2021CV1133
                                                                                                        7/12/2021 7:05 PM
                                                                                                            Beth C. Greene
                                                                                    Clerk of Superior State Juvenile Courts
                                                                                              Reviewed by: LaToya Brown
                    IN THE SUPERIOR COURT OF LOWNDES COUNTY

                                     STATE OF GEORGIA

EDNA SINGLETARY,                              :
                                                              CIVIL ACTION
       Plaintiff,                             :
                                                              FILE NO.:2021CV1133
                                                                        ____________
v.                                            :

DOLLAR TREE STORES, INC.,                     :
d/b/a DOLLAR TREE,
                                              :
      Defendant.
____________________________________

                                           SUMMONS

TO:    DOLLAR TREE STORES, INC.
       C/O CORPORATION SERVICE COMPANY, AS REGISTERED AGENT
       2 SUN COURT, SUITE 400
       PEACHTREE CORNERS, GEORGIA 30092

       You are hereby summoned and required to file with the Clerk of said Court and serve

upon Jody D. Peterman, Plaintiff’s attorney, whose address is Jody D. Peterman, LLC, P.O. Box

6010, Valdosta, GA 31603-6010, an answer to the Complaint which is herewith served upon

you, within thirty (30) days after service of this summons upon you, exclusive of the day of

service. If you fail to do so, judgment by default will be taken against you for the relief

demanded in the complaint.
                                July
       This the13th
                ____ day of ___________________, 2021.



                                             /s/ LaToya Brown
                                              ___________________________
                                              CLERK OF COURT
        Case 7:21-cv-00115-WLS Document 1-1 Filed 08/25/21 Page 3 ofLOWNDES
                                                                     20     COUNTY, GEORGIA
                                                                                               Lowndes County - Superior Court
                                                                                                                    2021CV1133
                                                                                                              7/12/2021 7:05 PM
                                                                                                                  Beth C. Greene
                                                                                          Clerk of Superior State Juvenile Courts
                                                                                                    Reviewed by: LaToya Brown
                    IN THE SUPERIOR COURT OF LOWNDES COUNTY

                                       STATE OF GEORGIA

EDNA SINGLETARY,                                   :
                                                                       CIVIL ACTION
       Plaintiff,                                  :
                                                                              2021CV1133
                                                                       FILE NO.: ____________
v.                                                 :

DOLLAR TREE STORES, INC.,                          :
d/b/a DOLLAR TREE,
                                                   :
      Defendant.
____________________________________

                                              COMPLAINT

       COMES NOW Edna singletary, Plaintiff in the above-styled action, and files this her

Complaint against Defendant, showing the Court as follows:

                                                       1.

       Defendant Dollar Tree Stores, Inc., hereinafter referred to as “Defendant,” is a foreign

for-profit corporation incorporated in the State of Virginia, and is authorized to and does transact

business within the State of Georgia.

                                                       2.

       Defendant, at all relevant times, owned and/or operated the Dollar Tree store located at

3279 Jack Staten Way, Valdosta, Georgia, and is subject to the jurisdiction of this Honorable

Court. Defendant may be served through its registered agent: Corporation Service Company, 2

Sun Court, Suite 400, Peachtree Corners, Georgia 30092.

                                                       3.

       Jurisdiction and venue are proper in this Court.



                          Edna Singletary v. Dollar Tree Stores, Inc. d/b/a Dollar Tree
                                   In the Superior Court of Lowndes County
                                                State of Georgia
                                                   Complaint
                                                  Page 1 of 4
        Case 7:21-cv-00115-WLS Document 1-1 Filed 08/25/21 Page 4 of 20




                                                       4.

       On or about November 29, 2020, Plaintiff was present at the Dollar Tree at 3279 Jack

Staten Way in Valdosta, Georgia as a customer/business invitee.

                                                       5.

       Plaintiff was inside Defendant’s establishment and, as she was walking, slipped in a

puddle of liquid in one of the aisles. The dangerous condition (i.e. wet floor) was not readily

apparent to the average customer/business invitee.

                                                       6.

       Defendant knew or should have known of the dangerous condition before Plaintiff was

injured by the defect.

                                                       7.

       Defendant had notice of the dangerous condition.

                                                       8.

       The Defendant’s employees and agents knew of such dangerous condition on November

29, 2020, and notwithstanding their knowledge of such dangerous condition, maintained such

dangerous condition on November 29, 2020.

                                                       9.

       This dangerous condition, which was known to the agents and employees of the

Defendant, was unknown to Plaintiff.

                                                      10.

       As a result of the incident, Plaintiff has suffered serious bodily injury.




                          Edna Singletary v. Dollar Tree Stores, Inc. d/b/a Dollar Tree
                                   In the Superior Court of Lowndes County
                                                State of Georgia
                                                   Complaint
                                                  Page 2 of 4
        Case 7:21-cv-00115-WLS Document 1-1 Filed 08/25/21 Page 5 of 20




                                                      11.

       As a result of the injuries and negligence of Defendant, Plaintiff has suffered past, present

and will in the future suffer pain therefrom.

                                                      12.

       Plaintiff has incurred medical expenses for treatment of her injuries.

                                                      13.

       Plaintiff’s injuries are permanent and continuing in nature.

                                                      14.

       All damages suffered by Plaintiff are the direct and proximate result of the Defendant’s

negligent acts and omissions.



WHEREFORE, Plaintiff prays as follows:

   a. That service of process issue in accordance with the law;

   b. That Plaintiff have a jury trial on all issues set forth herein;

   c. That Plaintiff recover a judgment against the Defendant for medical bills and pain and

       suffering in an amount to be determined by the enlightened conscience of an impartial

       jury;

   d. That Plaintiff be entitled to all costs of this action;

   e. That Plaintiff have such other and further relief as this Honorable Court deems just and

       proper.




                          Edna Singletary v. Dollar Tree Stores, Inc. d/b/a Dollar Tree
                                   In the Superior Court of Lowndes County
                                                State of Georgia
                                                   Complaint
                                                  Page 3 of 4
        Case 7:21-cv-00115-WLS Document 1-1 Filed 08/25/21 Page 6 of 20




This the 12th day of July, 2021.

                                                             JODY D. PETERMAN, LLC



                                                             _/s/ Jody D. Peterman_____
                                                             JODY D. PETERMAN
                                                             Attorney for Plaintiff
                                                             Georgia Bar No.: 573552
P.O. Box 6010
Valdosta, GA 31603-6010
Phone (229) 247-0386
Fax (229) 469-6735                                           _/s/ Dillon P. Hanson_____
Email: petermanlawoffice@yahoo.com                           DILLON P. HANSON
       dhanson.petermanlaw@gmail.com                         Attorney for Plaintiff
                                                             Georgia Bar No.: 883590




                          Edna Singletary v. Dollar Tree Stores, Inc. d/b/a Dollar Tree
                                   In the Superior Court of Lowndes County
                                                State of Georgia
                                                   Complaint
                                                  Page 4 of 4
        Case 7:21-cv-00115-WLS Document 1-1 Filed 08/25/21 Page 7 ofLOWNDES
                                                                     20     COUNTY, GEORGIA
                                                                                         Lowndes County - Superior Court
                                                                                                              2021CV1133
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                                                                                                            Beth C. Greene
                                                                                    Clerk of Superior State Juvenile Courts
                                                                                              Reviewed by: LaToya Brown
                    IN THE SUPERIOR COURT OF LOWNDES COUNTY

                                     STATE OF GEORGIA

EDNA SINGLETARY,                              :
                                                              CIVIL ACTION
       Plaintiff,                             :
                                                                        2021CV1133
                                                              FILE NO.: ____________
v.                                            :

DOLLAR TREE STORES, INC.,                     :
d/b/a DOLLAR TREE,
                                              :
      Defendant.
____________________________________

                                           SUMMONS

TO:    DOLLAR TREE STORES, INC.
       C/O STORE MANAGER ON DUTY
       3279 JACK STATEN WAY
       VALDOSTA, GA 31602

       You are hereby summoned and required to file with the Clerk of said Court and serve

upon Jody D. Peterman, Plaintiff’s attorney, whose address is Jody D. Peterman, LLC, P.O. Box

6010, Valdosta, GA 31603-6010, an answer to the Complaint which is herewith served upon

you, within thirty (30) days after service of this summons upon you, exclusive of the day of

service. If you fail to do so, judgment by default will be taken against you for the relief

demanded in the complaint.

       This the 15th             July
                ____ day of ___________________, 2021.


                                              /s/ LaToya Brown
                                              ___________________________
                                              CLERK OF COURT
                             Case 7:21-cv-00115-WLS Document 1-1 Filed 08/25/21 Page 8 of 20
                                                                                                                                                          NDES COUNTY, GEQ                     IA
                                                                                                                                                     Lowni       Coun         Supeji r Court
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                                                                                                                                          Clerk of                 State Juven             Courts
               Civil Action #       202mm”                                    '

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                                                                       Filed in ofﬁce this     State Court
                                                                                                                                                          8%    Iewed by: LaToya

                                  7/12/21
               Date Filed                                                                                                                                 4




                                                                         AUG 0 2 2021                                                                LOWNDES            comm!

               Attorney’s Address
                             Jody D. Peterman, LLC
                                                                 Mr          mm
                                                                                  Co       State Court]
                                                                                                          Edna Singletary


                                                                                                                                                                                  _    .
                                                                                                                                                                              Plamnff
                             304 N. Ashley Street
                                                                                                                                         VS
                             Valdosta, GA 31601
                                                                                                          Dollar Tree Stores, Inc. d/b/a Dollar Tree
               Name and Address of Party to be Served.

               Dollar Tree‘Stores, Inc.                           ,

                                                                                                                                                                         Defendant

               c/o Store Manager on Duty

                3279 Jack Staten Way                   ,
                                                                                                                                                                                               ‘


               Valdosta.-GA 31602                                                      .
                                                                                                                                                                         Garnishee
                                                                         SHERIFF’S ENTRY OF SERVICE
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               I have this day sewed the defendant                                                                                                        personally with a copy
               of the within action and summons.
PER!




               l have this day served the defetidant                                                                                                                    by leaving a
(/3
D          .
               copy of the action and summons at his most notorious place of abode in this County.
9
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               Delivered same intohmdsof                                                                                                    .
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               rved the defendant         ND0\\A‘( 171:6                                   Shm$              '
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                                                                                                                                                                        aoorporation
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                  leaving a copy of the within action and summons with                                                                           [H on 2E ggﬂ/meggr
                                                                                                                                         [-005
               in charge of the ofﬁce and place of domg business of sand CorporationIn this County.

                                       Summons, Complaint                                                        XILQWWCQ/
=I                                                                                                                                        Aggy/HQ
id             l have this day served the above styled afﬁdavit and summons on the defendant(s) by posting a copy of the same to the door of the premises
       i
               designated'In said afﬁdavit, and on the same day of such posting by depositing a true copy of same in the United States Mai! First Class.In an
5              envelope properly addressed to the defendant(s) at the address shown in said summons, with
                                                                                                          adequate
                                                                                                                   postage afﬁxed thereon containing notice
,5             to the defendands) to answer said summons at the place stated'In the summons.
EST




               Diligent search made and defendant
               not to be found in thejurisdietion of this Court.
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        Case 7:21-cv-00115-WLS Document 1-1 Filed 08/25/21 Page 9 of 20


                    IN THE SUPERIOR COURT OF LOWNDES COUNTY

                                       STATE OF GEORGIA

EDNA SINGLETARY,
                                                                CIVIL ACTION
       Plaintiff,
                                                                FILE NO.: 2021CV1133
v.

DOLLAR TREE STORES, INC.,
d/b/a DOLLAR TREE,

       Defendant.


          PLAINTIFFS EDNA SINGLETARY. OFFER OF SETTLEMENT TO
               DOLLAR TREE STORES. INC.. D/B/A DOLLAR TREE
                      PURSUANT TO O.C.G.A. $ 9-11-68

VIA CERTIFIED MAIL NO. 7020 1810 0001 8811 6530

TO:    James T. Hankins, III
       Goodman McGuffey, LLP
       3340 Peachtree Road NE, Suite 2100
       Atlanta, GA 30326-1084

        COMES NOW, EDNA SINGLETARY, Plaintiff in the above styled action by and
through her undersigned counsel, pursuant to O.C.G.A. § 9-11-68, as amended by HB 239 and
effective April 27, 2006, and makes the following Offer ofSettlement to DOLLAR TREE
STORES, INC., D/B/A DOLLAR TREE. In support of this offer of settlement, and as required
by O.C.G.A. § 9-11-68, undersigned counsel shows as follows:
                                                    1.
        Plaintiff offers to accept from DEFENDANT the sum ONE HUNDRED THOUSAND
DOLLARS ($100,000.00) in an attempt to unconditionally resolve any and all claims currently
pending on behalf of Plaintiff against DEFENDANT in this cause of action which arose from the
incident that occurred on or about November 29, 2020.
                                                   2.
        This offer includes amounts for any and all claims asserted by Plaintiff against
DEFENDANT in this tort action, including any and all known and unknown bodily personal
injuries of Plaintiff, all wage loss and loss of consortium claims, all hospital bills, doctor bills, drug
                    Case 7:21-cv-00115-WLS Document 1-1 Filed 08/25/21 Page 10 of 20


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        Case 7:21-cv-00115-WLS Document 1-1 Filed 08/25/21 Page 11 of 20


bills, and other medical expenses, that belong to or are the responsibility of Plaintiff or which may
hereafter accrue to Plaintiff on account of or resulting from the above-referenced incident, all
claims for attorney’s fees and/or expenses of litigation and any future or other damages relating to
Plaintiffs claims against DEFENDANT in this action and any and all claim(s) which were or
which could have been raised in the instant lawsuit against DEFENDANT. The General Release
will also include an indemnity provision in favor of DEFENDANT as to these and any other claims
against DEFENDANT arising from November 29, 2020, incident.
                                                 3.
       This Offer of Settlement does not include an additional amount for Plaintiffs costs and
attorney’s fees;
                                                 4.
       The Settlement entered in accordance with this Offer of Settlement is to be in total
settlement of any and all claims by Plaintiff against DEFENDANT for the claims which form the
basis of this lawsuit and which are the subject matter of this litigation. This Settlement shall have
no effect whatsoever except in settlement of those claims;
                                                 5.
       This Offer of Settlement is made solely for the purposes specified in Rule 68, and is not to
be construed as an admission that DEFENDANT is liable in this action, or that Plaintiff has
suffered any damage;
                                                 6.
        This offer does not include any amount to settle any claim for punitive damage as no such
claim has been asserted against DEFENDANT in this action nor does any legal basis exist for
such a claim;
                                                 7.
        Plaintiff will execute a Dismissal with Prejudice;
                                                 8.
        Plaintiff shall execute a full Release with indemnity language in favor of DEFENDANT
as well as an affidavit of no liens;
                                                 9.
        Beyond acceptance of this offer in writing by Plaintiff or her representatives, Plaintiff
places no other conditions on this offer.
        In accordance with Rule 68, if this Offer of Settlement is not accepted by DEFENDANT
within thirty (30) days after service of the Offer, the Offer shall be deemed withdrawn and any
        Case 7:21-cv-00115-WLS Document 1-1 Filed 08/25/21 Page 12 of 20


evidence of this offer will be inadmissible except in any proceeding to recover costs and
attorney’s fees.
        In accordance with Rule 68, if this Offer of Settlement is not accepted by DEFENDANT
and if the final judgement is obtained by Plaintiff as provided by O.C.G.A. § 9-11-68,
DEFENDANT must pay the reasonable attorney’s fees and expenses of litigation incurred by the
Plaintiff or on Plaintiffs behalf as a lowj       law.


        Respectfully submitted this           ~ay of August, 2021 ^



                                                         Jody D. Peterman
                                                         Attorney for Plaintiff
                                                         Georgia Bar # 573552
Jody Peterman
Attorney at Law
P.O. Box 6010
Valdosta, GA 31603-6010
(229) 247-0386
        Case 7:21-cv-00115-WLS Document 1-1 Filed 08/25/21 Page 13 of 20


                     IN THE SUPERIOR COURT OF LOWNDES COUNTY

                                      STATE OF GEORGIA

EDNA SINGLETARY,
                                                              CIVIL ACTION
        Plaintiff,
                                                              FILE NO.: 2021CV1133
v.

DOLLAR TREE STORES, INC.,
d/b/a DOLLAR TREE,

        Defendant.


                              CERTIFICATE OF SERVICE

        This is to certify that I have this day served a copy of the within and foregoing
PLAINTIFF, EDNA SINGLETARY, Offer Of Settlement (Personal Injury) to DOLLAR TREE
STORES, INC., D/B/A DOLLAR TREE PURSUANT TO O.C.G.A. §9-11-68 upon all parties
of record via certified mail in the form required by Georgia Code Sections 9-11-5 and 9-11-
68(a)(8) to:

                                      James T. Hankins, III
                                    Goodman McGuffey, LLP
                               3340 Peachtree Road NE, Suite 2100
                                    Atlanta, GA 30326-1084


        Respectfully submitted this                       ,2021.



                                                                                            1
                                                              Kelly Jenkins
                                                              Secretary urJody D. Peterman
Jody Peterman
Attorney at Law
P.O. Box 6010
Valdosta, GA 31603-6010
(229) 247-0386
Case 7:21-cv-00115-WLS Document 1-1 Filed 08/25/21 Page 14 of 20




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                                                  By.
        Case 7:21-cv-00115-WLS Document 1-1 Filed 08/25/21 Page 15 ofLOWNDES
                                                                       20    COUNTY, GEORGIA
                                                                                 Lowndes County - Superior Court
                                                                                                      2021CV1133
                                                                                                 8/9/2021 2:00 PM
                                                                                                    Beth C. Greene
                                                                            Clerk of Superior State Juvenile Courts
                                                                                        Reviewed by: Stacy Barrett
                    IN THE SUPERIOR COURT OF LOWNDES COUNTY

                                    STATE OF GEORGIA

  EDNA SINGLETARY,

       Plaintiff,                                 Civil Action
                                                  File No.:      2021CV1133

  v.

  DOLLAR TREE STORES, INC., d/b/a
  DOLLAR TREE,

       Defendant.

                               DEFENSES AND ANSWER

       COMES NOW, Dollar Tree Stores, Inc. d/b/a Dollar Tree, named Defendant in the

above styled action, and files the following Defenses and Answer to Plaintiff’s Complaint

and shows the Court as follows:

                                     FIRST DEFENSE

       The Complaint fails to set forth a claim against this Defendant upon which relief can

be granted.

                                   SECOND DEFENSE

       For a Second Defense, the Defendant answers the numbered paragraphs of the

Complaint as follows:

                                             1.

       Defendant admits the allegations contained in Paragraph 1 of the Complaint.

                                             2.

       Defendant admits that it operates a store in Valdosta, Georgia and that is registered

agent is Corporation Service Company, 2 Sun Court, Suite 400, Peachtree Corners,
      Case 7:21-cv-00115-WLS Document 1-1 Filed 08/25/21 Page 16 of 20




Georgia. Defendant denies any remaining allegation contained in Paragraph 2 of the

Complaint.

                                           3.

      Defendant denies, as pled, the allegations contained in Paragraph 3 of the

Complaint.

                                           4.

      Defendant is without knowledge or information sufficient to form a belief as to the

truth of the averments contained in Paragraph 4 of the Complaint and, therefore, cannot

admit or deny same.

                                           5.

      Defendant denies, as pled, the allegations contained in Paragraph 5 of the

Complaint.

                                           6.

      Defendant denies the allegations contained in Paragraph 6 of the Complaint.

                                           7.

      Defendant denies the allegations contained in Paragraph 7 of the Complaint.

                                           8.

      Defendant denies the allegations contained in Paragraph 8 of the Complaint.

                                           9.

      Defendant denies the allegations contained in Paragraph 9 of the Complaint.

                                          10.

      Defendant is without knowledge or information sufficient to form a belief as to the

truth of the averments contained in Paragraph 10 of the Complaint and, therefore, cannot

admit or deny same.


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       Case 7:21-cv-00115-WLS Document 1-1 Filed 08/25/21 Page 17 of 20




                                              11.

       Defendant is without knowledge or information sufficient to form a belief as to the

truth of the averments contained in Paragraph 11 of the Complaint and, therefore, cannot

admit or deny same.

                                              12.

       Defendant is without knowledge or information sufficient to form a belief as to the

truth of the averments contained in Paragraph 12 of the Complaint and, therefore, cannot

admit or deny same.

                                              13.

       Defendant is without knowledge or information sufficient to form a belief as to the

truth of the averments contained in Paragraph 13 of the Complaint and, therefore, cannot

admit or deny same.

                                              14.

       Defendant denies the allegations contained in Paragraph 14 of the Complaint.

                                              15.

       Any allegation of the Complaint not admitted, denied or otherwise responded to

above is hereby denied.

                                     THIRD DEFENSE

       Defendant is not liable to Plaintiff because Defendant breached no duty owed to

Plaintiff in regard to the occurrence giving rise to this Complaint.

                                    FOURTH DEFENSE

       Defendant shows that the alleged damages of Plaintiff, if any, were caused by the

contributory and comparative negligence of Plaintiff.

                                      FIFTH DEFENSE


                                             -3-
       Case 7:21-cv-00115-WLS Document 1-1 Filed 08/25/21 Page 18 of 20




       Plaintiff, by the exercise of ordinary care, could have avoided the consequences of

any act or failure to act of Defendant.

                                      SIXTH DEFENSE

       Defendant is not liable to Plaintiff because the negligence of Plaintiff equaled or

preponderated over any acts or omissions of Defendant in producing or in bringing about

the occurrence complained of, but Defendant denies that any act of Defendant produced,

brought about, caused, or contributed to in any manner whatsoever the occurrence

complained of in the Complaint.

                                    SEVENTH DEFENSE

       The claims of Plaintiff are barred by the Georgia doctrine of assumption of risk.

                                     EIGHTH DEFENSE

       Plaintiff’s injuries, if any, were caused by an unforeseeable intervening third party

tortfeasor and/or the acts and failure to act of persons or entities other than Defendant.

                                      NINTH DEFENSE

       The Plaintiff’s failure to properly plead items of special damages sought in this

action prohibits and/or bars Plaintiff’s rights to recover and/or recoup any items of special

damages in this action, as a matter of law. O.C.G.A. § 9-11-9(g).

                                     TENTH DEFENSE

       The Complaint should be dismissed for lack of jurisdiction over the subject matter,

lack of jurisdiction over the person of this Defendant, improper venue, and insufficiency of

process and service of process as to this Defendant.




                                            -4-
       Case 7:21-cv-00115-WLS Document 1-1 Filed 08/25/21 Page 19 of 20




                                   ELEVENTH DEFENSE

       In the event that any benefits have been paid by or on behalf of Defendant,

Defendant is entitled to a set off against any verdict for the amount of benefits paid. See,

Orndorff v. Brown, 197 Ga. App. 591 (1990).

       WHEREFORE, having fully answered, Defendant prays that the Complaint be

dismissed with costs of this action cast against the Plaintiff.

       This 9th day of August, 2021.

                                     Goodman McGuffey LLP
                                     Attorneys for Dollar Tree Stores, Inc. d/b/a Dollar Tree


                             By:     _/s/James T. Hankins, III___________
                                     James T. Hankins, III
                                     GA State Bar No.: 188771
                                     jhankins@GM-LLP.com
                                     3340 Peachtree Road NE, Suite 2100
                                     Atlanta, GA 30326-1084
                                     (404) 264-1500 Phone
                                     (404) 264-1737 Fax


DEFENDANT DEMANDS
TRIAL BY JURY OF TWELVE




                                              -5-
        Case 7:21-cv-00115-WLS Document 1-1 Filed 08/25/21 Page 20 of 20




                    IN THE SUPERIOR COURT OF LOWNDES COUNTY

                                       STATE OF GEORGIA

  EDNA SINGLETARY,

       Plaintiff,                                 Civil Action
                                                  File No.:      2021CV1133

  v.

  DOLLAR TREE STORES, INC., d/b/a
  DOLLAR TREE,

       Defendant.

                               CERTIFICATE OF SERVICE

       This is to certify that I have this day served all counsel and parties of record with a

copy of Defenses and Answer by statutory electronic service pursuant to O.C.G.A. § 9-

11-5(b) or by depositing a copy of same in the United States Mail, postage prepaid, as

follows:

                                   Jody D. Peterman, Esq.
                                   Dillon P. Hanson, Esq.
                                   Jody D. Peterman, LLC
                                       P.O. Box 6010
                                  Valdosta, GA 31603-6010


       This 9th day of August, 2021.



                            By:     /s/James T. Hankins, III________
                                    JAMES T. HANKINS, III
                                    GA State Bar No. 188771
                                    jhankins@GM-LLP.com
                                    Goodman McGuffey LLP
                                    3340 Peachtree Road NE, Suite 2100
                                    Atlanta, GA 30326-1084
                                    (404) 264-1500 Phone
                                    (404) 264-1737 Fax


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